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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
Hon. Judith Levy
Vv.

Case No. 21-cr-20756
JAMAR LEE-STINSON,

Defendant.
/

 

Plea Agreement
The United States of America and the defendant, Jamar Lee-

Stinson, have reached a plea agreement under Federal Rule of Criminal
Procedure 11. The plea agreement’s terms are:

1. Counts of Conviction

The defendant will plead guilty to Count 1 the Indictment. Count
1 charges the defendant with a violation of 18 U.S.C. ' 922(g) — felon in
possession of ammunition.

2. Statutory Maximum Penalties

The defendant understands that the count to which he is pleading

guilty carries the following maximum statutory penalties:

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| Count 1 Term of imprisonment: Up to 10 years in prison.

 

Fine: Up to $250,000

 

 

 

Term of supervised release: | Up to 3 years

 

 

3. Agreement to Dismiss Remaining Charges

There are no additional counts pending against the Defendant in
Indictment Number 21-20756.

4, Elements of Counts of Conviction

The elements of Count 1 are:

First: That the defendant has been convicted of a crime
punishable by imprisonment for more than one year;

Second: That the defendant, following his conviction, knowingly
possessed the ammunition specified in the indictment;

Third: That at the time the defendant possessed the
ammunition, he knew he had been convicted of a crime

punishable by imprisonment for more than one year; and,

Fourth: That the specified ammunition crossed a state line
prior to the alleged possession.

5. Factual Basis

The parties agree that the following facts are true, accurately
describe the defendant’s role in the offense, and provide a sufficient

factual basis for the defendant's guilty plea:

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On November 8, 2021, Defendant Lee-Stinson entered a gas
station in the City of Detroit. The Defendant exchanged words with a
group of men while inside the location. Lee-Stinson then brandished a
firearm a placed it on the counter. Shortly thereafter, Lee-Stinson fired
multiple rounds at three men as they returned to their vehicle. Lee-
Stinson was captured on surveillance cameras inside and outside of the
gas station as he discharged his weapon. Shell casings were recovered
by the Detroit Police Department. The parties stipulate that Lee-
Stinson had been convicted of a felony offense at the time he possessed
the firearm and ammunition later discharged during this offense. Lee-
Stinson knew that he had been previously convicted of a felony offense.
Further, the parties stipulate that the ammunition was manufactured
outside the State of Michigan and thus traveled in interstate or foreign
commerce.

6. Advice of Rights

The defendant has read the Indictment, has discussed the charges
and possible defenses with his attorney, and understands the crime
charged. The defendant understands that, by pleading guilty, he is

waiving many important rights, including the following:

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A. The right to plead not guilty and to persist in that plea;

B. The right to a speedy and public trial by jury;

C. The right to be represented by counsel—and, if necessary,
have the court appoint counsel—at trial;

D. The right to be presumed innocent and to require the
government to prove the defendant guilty beyond a reasonable
doubt at trial:

E. The right to confront and cross-examine adverse witnesses
at trial;

F. The right to testify or not to testify at trial, whichever the
defendant chooses;

G. Ifthe defendant chooses not to testify at trial, the right to
have the jury informed that it may not treat that choice as
evidence of guilt;

H. The right to present evidence or not to present evidence at
trial, whichever the defendant chooses; and

I. The right to compel the attendance of witnesses at trial.

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7. Collateral Consequences of Conviction

The defendant understands that his conviction here may carry
additional consequences under federal or state law. The defendant
understands that, if he is not a United States citizen, his conviction
here may require him to be removed from the United States, denied
citizenship, and denied admission to the United States in the future.
The defendant further understands that the additional consequences of
his conviction here may include, but are not limited to, adverse effects
on the defendant’s immigration status, naturalized citizenship, right to
vote, right to carry a firearm, right to serve on a jury, and ability to hold
certain licenses or to be employed in certain fields. The defendant
understands that no one, including the defendant’s attorney or the
Court, can predict to a certainty what the additional consequences of
the defendant’s conviction might be. The defendant nevertheless affirms
that the defendant chooses to plead guilty regardless of any

immigration or other consequences from his conviction.

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8. Defendant’s Guideline Range
A. Court’s Determination

The Court will determine the defendant’s guideline range at
sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the defendant receive a two-level reduction
for acceptance of responsibility under USSG § 3E1.1(a). Further,
because the defendant’s offense level is 16 or greater and the defendant
is awarded the two-level reduction under USSG § 3E1.1(a), the
government recommends that the defendant receive an additional one-
level reduction for acceptance of responsibility under USSG § 3E1.1(b).
If, however, the government learns that the defendant has engaged in
any conduct inconsistent with acceptance of responsibility—including,
but not limited to, making any false statement to, or withholding
information from, his probation officer; obstructing justice in any way;
denying his guilt on the offenses to which he is pleading guilty;
committing additional crimes after pleading guilty; or otherwise

demonstrating a lack of acceptance of responsibility as defined in USSG

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§ 3E1.1—the government will be released from its obligations under
this paragraph, will be free to argue that the defendant not receive any
reduction for acceptance of responsibility under USSG § 3E1.1, and will
be free to argue that the defendant receive an enhancement for
obstruction of justice under USSG § 3C1.1.

C. Other Guideline Recommendations

The parties also recommend under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the following guideline provision applies:

e Base offense level 27 pursuant to U.S.S.G. § 2K2.1(c)(1)(A) and the
cross-reference to § 2A2.1(a) (Assault with intent to commit
second degree murder) because Lee-Stinson fired multiple rounds
of ammunition at three men during his commission of the charged
offense.

D. Factual Stipulations for Sentencing Purposes

There are no additional factual stipulations for sentencing
purposes.

EK. Parties’ Obligations

Both the defendant and the government agree not to take any

position or make any statement that is inconsistent with any of the

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guideline recommendations or factual stipulations in paragraphs 8.B,
8.C, or 8.D. Neither party is otherwise restricted in what it may argue
or present to the Court as to the defendant’s guideline calculation.

F. Nota Basis to Withdraw

The defendant understands that he will have no right to withdraw
from this agreement or withdraw his guilty plea if he disagrees, in any
way, with the guideline range determined by the Court. The
government likewise has no right to withdraw from this agreement if it
disagrees with the guideline range determined by the Court.

9. Imposition of Sentence
A. Court’s Obligation

The defendant understands that in determining his sentence, the
Court must calculate the applicable guideline range at sentencing and
must consider that range, any possible departures under the sentencing
guidelines, and the sentencing factors listed in 18 U.S.C. § 3553(a), and
apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation

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Under Federal Rule of Criminal Procedure 11(c)(1){B), the
government recommends that the defendant’s sentence of imprisonment
not exceed the top of the defendant’s guideline range as determined by
the Court.

2. No Right to Withdraw

The government's recommendation in paragraph 9.B.1 is not
binding on the Court. The defendant understands that he will have no
right to withdraw from this agreement or withdraw his guilty plea if the
Court decides not to follow the government’s recommendation. The
government likewise has no right to withdraw from this agreement if
the Court decides not to follow the government’s recommendation. If
however, the Court rejects or purports to reject any other term or terms
of this plea agreement, the government will be permitted to withdraw
from the agreement.

C. Supervised Release
1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend the Court impose a term of supervised release of three

years.

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2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The
defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if the Court decides not to follow
the parties’ recommendation. The defendant also understands that the
government's recommendation concerning the length of the defendant’s
sentence of imprisonment, as described above in paragraph 9.B.1, will
not apply to or limit any term of imprisonment that results from any

later revocation of the defendant’s supervised release.

D. Fines

There is no recommendation or agreement as to a fine.

E. Forfeiture

The ammunition will be forfeited in this case.

F. Special Assessment

The defendant understands that he will be required to pay a
special assessment of $100, due immediately upon sentencing.

10. Appeal Waiver

The defendant waives any right he may have to appeal his

conviction on any grounds. If the defendant’s sentence of imprisonment

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does not exceed the top of the guideline range determined by the Court,
the defendant also waives any right he may have to appeal his sentence
on any grounds.

11. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective
assistance of counsel or prosecutorial misconduct, as long as the
defendant properly raises those claims by collateral review under 28
U.S.C. § 2255. The defendant also retains the right to pursue any relief
permitted under 18 U.S.C. § 3582(c), as long as the defendant properly
files a motion under that section. The defendant, however, waives any
other right he may have to challenge his conviction or sentence by
collateral review, including, but not limited to, any right he may have to
challenge his conviction or sentence on any grounds under 28 U.S.C.

§ 2255 (except for properly raised ineffective assistance of counsel
claims or prosecutorial misconduct, as described above), 28 U.S.C.
§ 2241, or Federal Rule of Civil Procedure 59 or 60.

12. Consequences of Withdrawal of Guilty Plea or Vacation of
Judgment

If the defendant is allowed to withdraw his guilty pleas, or if the

defendant’s conviction or sentence under this agreement is vacated, the

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government may reinstate any charges against the defendant that were
dismissed as part of this agreement and may file additional charges
against the defendant relating, directly or indirectly, to any of the
conduct underlying the defendant’s guilty plea or any relevant conduct.
If the government reinstates any charges or files any additional charges
as permitted by this paragraph, the defendant waives his right to
challenge those charges on the ground that they were not filed in a
timely manner, including any claim that they were filed after the
limitations period expired.

18. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his
guilty plea for any reason, he waives all of his rights under Federal
Rule of Evidence 410, and the government may use his guilty plea, any
statement that the defendant made at his guilty plea hearing, and the
factual basis set forth in this agreement, against the defendant in any
proceeding.

14. Parties to Plea Agreement

This agreement does not bind any government agency except the

United States Attorney’s Office for the Eastern District of Michigan.

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15. Scope of Plea Agreement

This plea agreement is the complete agreement between the
parties and supersedes any other promises, representations,
understandings, or agreements between the parties concerning the
subject matter of this agreement that were made at any time before the
guilty plea is entered in court. Thus, no oral or written promises made
by the government to the defendant or to the attorney for the defendant
at any time before the defendant pleads guilty are binding except to the
extent they have been explicitly incorporated into this plea agreement.
If the parties have entered, or subsequently enter, into a written proffer
or cooperation agreement, though, this plea agreement does not
supersede or abrogate the terms of that agreement. This plea
agreement also does not prevent any civil or administrative actions
against the defendant, or any forfeiture claim against any property, by
the United States or any other party.

16. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in

the United States Attorney’s Office by 5:00 pm on July 29, 2022. The

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government may withdraw from this agreement at any time before the

defendant pleads guilty.

a

Craig Wininger Jeanine Brunson

Chief, Violent and Organized Assistant United States Attorney
Crime Unit

Assistant United States Attorney

Dawn Ison
United States Attorney

 

 

Dated: 7/11/2022

By signing below, the defendant and his attorney agree that the
defendant has read or been read this entire document, has discussed it
with his attorney, and has had a full and complete opportunity to confer
with his attorney. The defendant further agrees that he understands
this entire document, agrees to its terms, has had all of his questions
answered by his attorney, and is satisfied with his attorney’s advice and
representation.

 

SS > Up

Daniel Dena” Jathar Lee-Stinson
Attorney for Defendant Lee-Stinson Defendant
Dated: W910 Dated: 718/272

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